WDPA CTM (2/01)Case 2:19-cv-01258-RJC-MPK
                                        CIVILDocument  204 Filed 11/02/23
                                             TRIAL MEMORANDUM                            Page 1 of 2
                                      UNITED STATES DISTRICT COURT
                                                      FOR THE
                                         WESTERN DISTRICT OF PENNSYLVANIA
                        Michael Allen Sherman



                                 vs                       No. 19-1258                            CIVIL

                      CO ROBERT HOLLOWOOD et al
                                                                 Time for Selection: Begins: 9:50 a.m. 10/30/23
                                                                                     Ends: 4:30 PM on 11/1/23
                                                                 Date:

NO.                          NAME OF JUROR                NO.                     NAME OF JUROR
   1 Jordan Davis                                           10

   2 Elvin Rivera-Quinones                                  11

   3 Jason Betters                                          12

   4 Courtney Medved                                        13

   5 Deborah Mancuso                                        14

   6 Grayson Hixon                                          15

   7 Ralph Flaugher                                         16

   8 Benjamin Spriggs                                       17

   9                                                        18

                                                     WITNESSES

                             PLAINTIFF                                            DEFENDANT

 P 1 Michael Sherman Allen Sr.                             D 1 Larissa Kutek

 P 2 Kerri Cross                                           D2

 P 3 Juan Macias                                           D3

 P 4 Christopher Sheldon                                   D4

 P 5 Robert Hollowood




WDPA CTM-2 (02/01)
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                                                       CLERK'S MEMORANDUM

Civil Number             2:19-cv-1258                                  Case closed                      11/1/2023               __

Before Judge             Hon. Robert J. Colville                       Judge Charges Jury               11:50 AM on 11/1/2023   __

Appears for Pltf.        Leticia Chavez-Freed, Esq.                    Jury Retires                     11/1/2023               __

                                                                       Verdict                          4:20 PM on 11/1/2023    __



Appears for Deft.        Jorden Colalella, Esq.

                         Michael Gaetani, Esq.



Appears for 3rd pty.



Pltf. opens              11:47 AM on 10/30/2023             ___        Bailiff in charge/Law Clerk      T.Klein

Pltf. rest               4:15 PM on 10/31/2023              ___        Court Reporter                   B.Loch

Pltf. close              9:45 AM on 11/1/2023                          Deputy Clerk                     C. Orendi

Deft. opens              11:57 AM on 10/30/2023

Deft. rest               9:00 AM on 11/1/2023

Deft. close              10:00 AM on 11/1/2023

                                             JURY                                         TRIAL MEMORANDUM

                    1.   Jordan Davis                                                                Dates of Trial

                    2.   Elvin Rivera-Quinones                         Trial Opens                      10/30/23                __

                    3.   Jason Betters                                 Continues                        10/31/23                ___

                    4.   Courtney Medved                               Continues                        11/1/23                 ___

                    5.   Deborah Mancuso                               Continues                                                ___

                    6.   Grayson Hixson                                Continues                                                ___

                    7.   Ralph Flaugher                                Continues                                                ___

                    8.   Benjamin Spriggs                              Continues                                                ___

                                                                       Continues                                                20___

                          TRIAL MOTIONS                                Continues                                                20___

               Defense Oral Rule 50 Motions 10/31/23 – Denied on the   Continues                                                20___

                                                      Record 11/1/23   Continues                                                20___

                                                                       Continues                                                20___

                                                                       Continues                                                20___

                                                                       Continues                                                20___

                                                                       Continues                                                20___

                                                                       Continues                                                20___

                                                                       Trial closed                     11/1/23                 ___

                                                                       Verdict                          11/1/23
